              Case 8:20-mj-00487-GLF Document 4 Filed 10/05/20 Page 1 of 1




              OFFICE OF THE FEDERAL PUBLIC DEFENDER
              FOR THE NORTHERN DISTRICT OF NEW YORK
Syracuse Office                                                                         Albany Office

4 Clinton Square                                                                    39 N. Pearl Street
3RD FLOOR                                                                                5TH FLOOR
SYRACUSE, NY 13202                                                               ALBANY, NY 12207
(315) 701-0080                                                                        (518) 436-1850
(315) 701-0081 FAX                                                               FAX (518) 436-1780

Lisa Peebles                                                                          Paul Evangelista
Federal Public Defender                                                                 First Assistant


October 5, 2020

Honorable Gary L. Favro
United States Magistrate Judge
The Gateway Building
14 Durkee Street
Plattsburgh, New York 12901

RE:       UNITED STATES v. GRAIGORY BROWN; CASE NO.: 8:20-MJ-00487 (GLF)

Dear Judge Favro:
        Graigory Brown is scheduled to appear before you tomorrow, October 6, 2020, at 8:30
a.m. for a detention hearing. By this letter, the defense respectfully requests a one-week
adjournment of that hearing. After receiving Mr. Brown’s pre-trial report, more time is needed
for the defense to prepare for the hearing. Mr. Brown has advised me that he consents to this
request. In addition, I have communicated the proposed adjournment to Assistant United States
Attorney Doug Collyer.

       Please let me know if I can provide the Court with any further information. Thank you
for your attention to this matter.

                                      Very truly yours,

                                      OFFICE OF THE FEDERAL PUBLIC DEFENDER


                                             s/ Gabrielle DiBella
                                      By:    Gabrielle DiBella, Esq.
                                             Assistant Federal Public Defender


cc:       Doug Collyer, AUSA (by ECF);
          Jennifer Belli, USPO (by email)
          Graigory Brown (by mail)
